          RONAOKEIN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF VIRGINIA
                      ROANOKE DIVISION

ALFONZA HARDY GREENHILL,                    )
                                            )
                                            )
                Plaintiff,                  )     Case No. 7:16CV00068
                                            )
v.                                          )            ORDER
                                            )
                                            )
HAROLD W. CLARKE, ETC., ET AL.,             )     By: James P. Jones
                                            )     United States District Judge
                Defendants.                 )

      It appearing that the Judgment entered on May 10, 2017 (ECF No. 44) was

entered in error, the case on the merits not having been concluded, it is

ORDERED that the said Judgment is VACATED and case placed back on the

docket.

                                         ENTER: May 11, 2017

                                         /s/ James P. Jones
                                         United States District Judge




Case 7:16-cv-00068-JPJ-RSB Document 45 Filed 05/11/17 Page 1 of 1 Pageid#: 443
